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Clean Venture, Inc. d/b/a ACV Enviro CV,
ACV Enviro 1045 Re LLC and ACV Enviro
Corporation
                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

KEVIN    PEREZ,    DWAYNE   BOWEN,
REYNALDO DEJESUS, KELVIN JONES,
TIMOTHY MCNEILL, SCOTT BRUNSON,
JERMAINE BENDERS, GEORGE BOSCH,
ROBERTO COSME, KYLE JOBES, JACQUES
MANN, AMIR MUHAMMAD, EDWIN
NUNEZ, JOES RIOS, ANTHONY BRUNO and CIVIL ACTION NO. 20-cv-00345
GREGORY LINDSEY,

                             Plaintiffs,


                   v.

CLEAN VENTURE, INC. d/b/a ACV ENVIRO
CV, and ACV ENVIRO 1045 RE LLC, ACV
ENVIRO CORPORATION, CORPORATION 1-
10, JOHN DOES 1-10,

                             Defendants.


                                 NOTICE OF REMOVAL

         Defendants Clean Venture , Inc. d/b/a ACV Enviro CV, ACV Enviro 1045 Re LLC and ACV

Enviro Corporation (“Defendants”), by and through their undersigned counsel, hereby remove this

action from the Superior Court of New Jersey, Law Division, Union County, to the United States




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District Court, District of New Jersey, pursuant to 28 U.S.C. §§ 1331, 1367, 1441 and 1446, et seq.

based on the following grounds.

                                           BACKGROUND

         1.        On December 19, 2019, Plaintiffs Kevin Perez, Dwayne Bowen, Reynaldo Dejesus,

Kelvin Jones, Timothy McNeill, Scott Brunson, Jermaine Benders, George Bosch, Roberto Cosme,

Kyle Jobes, Jacques Mann, Amir Muhammad, Edwin Nunez, Joel Rios, Anthony Bruno and Gregory

Lindsey (collectively “Plaintiffs”) filed a Complaint against Defendants in the Superior Court of

New Jersey, Law Division, Union County, Docket No. UNN-L-004384-19 (the “State Court

Action”).

         2.        Defendants have not yet answered, moved, or otherwise responded to the Complaint

in the State Court Action.

         3.        Attached hereto as Exhibit A are true and correct copies of the Complaint, Case

Information Statement, Track Designation Notice of Appearance, and Affidavits of Service. These

documents constitute all the process, pleadings, and orders filed in the State Court Action to date.

                                   TIMELINESS OF REMOVAL

         5.        The removal of this action is timely because it was accomplished within 30 days of

the date on which Defendants became aware of the filing of the Complaint. See 28 U.S.C. §

1446(b)(1).

                           JURISDICTIONAL BASIS FOR REMOVAL
                          Federal Question and Supplemental Jurisdiction

         6.        District courts “have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. The instance in which “a case

arises under federal law” is “when federal law creates the cause of action asserted.” Gunn v. Minton,

133 S. Ct. 1059, 1064 (2013).


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         7.        Plaintiffs’ Complaint seeks to allege multiple causes of action arising out of their

employment, which include causes of action under the New Jersey Prevailing Wage for Construction

Work On A Public Utility (“NJPWCWPU”), N.J.S.A. § 34:13B-2.1 and N.J.S.A. § 34:13B-16

(Count One) for the alleged failure to pay prevailing wages for work on public utilities, the New

Jersey Prevailing Wage Requirement, Construction Undertaken with BPU Financial Assistance

(“NJPWR”), N.J.S.A. § 48:2-29.47 (Count Two) for the alleged failure to pay prevailing wages for

work at PSE&G facilities, the New Jersey Prevailing Wage Act (“NJPWA”), N.J.S.A. § 34:11-

56.25, et seq. (Count Three) for the alleged failure to pay prevailing wages for work on public

utilities, common law Breach of Contract (Count Four), the New Jersey Wage Payment Law

(“NJWPL”), N.J.S.A. § 34:11-56a4 and N.J.A.C. § 12:56-13.3 (Count Five) for the alleged failure to

pay overtime, and the Fair Labor Standards Act (“FLSA”), 29 U.S.C. 201, et seq.(Count Six) for the

alleged failure to pay overtime.

         8.        This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331

because the Complaint involves and is predicated upon a federal question, Plaintiffs’ claims under

the FLSA.

         9.        Additionally, where a complaint alleges causes of action under both federal and state

law, district courts have supplemental jurisdiction over the state law claims where the state law

claims are so related to the federal law claims that they form part of the same case or controversy.

See 28 U.S.C. § 1367. Federal and state law claims form a part of the same case or controversy when

they arise out of a “common nucleus of operative fact.” United Mine Workers of Am. v. Gibbs, 383

U.S. 715 (1966).

         10.       Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over Plaintiffs’

state law claims under the NJPWCWPU, NJPWR, NJPWA, NJWPL and the common law Breach of




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Contract because they arise out of the same set of facts as Plaintiffs’ federal law claim, specifically,

the alleged factual circumstances surrounding Plaintiffs’ allegation that the Defendant failed to

adequately compensate Plaintiffs.

         11.       Plaintiffs’ state law claims do not raise novel or complex issues of state law or

substantially predominate over their federal claims. See 28 U.S.C. § 1367(c).

         12.       Accordingly, Defendants are entitled to remove this action to this Court under 28

U.S.C. § 1441 as this Court has original jurisdiction pursuant to 28 U.S.C. § 1331 and supplemental

jurisdiction pursuant to 28 U.S.C. § 1367.

                                                  VENUE

         13.       Under 28 U.S.C. § 1441(a), the United States District Court for the District of New

Jersey (Newark Vicinage) is the proper venue for removal jurisdiction because it embraces the place

where this action is pending.

                                       MISCELLANEOUS ISSUES

         14.       Written notice of the filing of this Notice of Removal is being forwarded to Plaintiffs’

counsel as well as to the Clerk of the Court for the Superior Court of New Jersey, Law Division,

Union County, pursuant to 28 U.S.C. § 1446(d).

         15.       By filing this Notice of Removal, Defendants does not waive any defense that may be

available and specifically reserves the right to assert any defenses and/or objections to which it may

be entitled.

                   WHEREFORE, Defendants hereby removes the above-captioned action now

pending in the Superior Court of New Jersey, Law Division, Union County, to the United States

District Court for the District of New Jersey and requests that this Court assume full jurisdiction over

this cause of action as provided for by law.




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Dated: January 9, 2020




                                   Respectfully submitted,

                                   LEWIS BRISBOIS BISGAARD & SMITH LLP

                                   __s/ Bradley J. Bartolomeo________
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                                CERTIFICATE OF SERVICE

         I, Bradley Bartolomeo, hereby certify that on this date, I caused a true and correct copy of the

foregoing Notice of Filing of Notice of Removal to be served on counsel for Plaintiff via email and

via First Class Mail, postage prepaid, at the address specified below.


                                      David Zatuchni, Esq.
                                 ZATUCHNI & ASSOCIATES, LLC
                                     287 South Main Street,
                                     Lambertville, NJ 08530
                                     Attorneys for Plaintiff



Dated: January 9, 2020                                          s/ Bradley J. Bartolomeo
                                                                Bradley J. Bartolomeo




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